	NO. 07-11-0304-CV

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL C

	NOVEMBER 22, 2011
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	In the Interest of R.J.N., a Child
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	FROM THE COUNTY COURT AT LAW NO. 2 OF POTTER COUNTY;

	NO. 74,146-2; HON. PAMELA COOK SIRMON, PRESIDING
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	On Motion to Dismiss
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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

Appellant Robert Salazar, Jr. has filed a motion to dismiss his appeal, signed by appellant, because he no longer desires to prosecute it.  Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having dismissed the appeal at appellants request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

							Per Curiam		          
